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UNITED STATES DISTRICT COURT mee

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Re

WESTERN DISTRICT OF TEXAS
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DEL RIO DIVISION ni
BY nent VT
UNITED STATES OF AMERICA, § Cause No. DR99-CR649 pEPUTY
§ SUPERCEDING
§ INDICTMENT
§
v, § [VIO: COUNT ONE: 21 U.S.C.
§ 841(a)(1)&(b)(1)(A) and 846,
§ Conspiracy to Possess With Intent to
§ Distribute Marijuana; COUNT TWO: 21
JESUS ALBERTO LOPEZ-FIGUEROA, § USS.C. 841(a)(1)&(b)(1)(D) , Possession
JESUS ALBERTO LOPEZ, JR., § of Marijuana With Intent to Distribute]
JAVIER AMBROCIO HERALDEZ- § ,
VERDUZCO, §
THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §841(a)(1)&(b)(1)(A) and § 846]

That beginning on or before September 1, 1997, and continuing until on or about August

1999, in the Western District of Texas, Defendants,
JESUS ALBERTO LOPEZ-FIGUEROA,
JESUS ALBERTO LOPEZ, JR..,
JAVIER AMBROCIO HERALDEZ-VERDUZCO,

knowingly, and intentionally and unlawfully combined, conspired, confederated and agreed
together and with others known and unknown. to possess with the intent to distribute a
controlled substance, which offense involved a quantity of 1000 kilograms or more of a mixture

or substance containing a detectable amount of Marijuana, a Schedule I Controlled Substance,

contrary to Title 21, United States Code, §§ 841(a)(1)&(b)(1 (A) and 846.
COUNT TWO
[21 U.S.C. 841(a)(1)&(b)(1)(D)]

On or about September 1, 1997 through on or about August 1999, in the Western
District of Texas, Defendant,
JESUS ALBERTO LOPEZ JR.,
did knowingly, intentionally and unlawfully possess with the intent to distribute a controlled
substance, which offense involved less than 50 kilograms of a mixture or substance containing
a detectable amount of Marijuana, a Schedule I Controlled Substance, in violation of Title 21,

United States Code, § 841(a)(1)&(b)(1)(D).

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Assistant United States Attorney
